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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Joel Fox,                                 )    No. CV-11-00595-PHX-NVW
                                               )
10              Plaintiff,                     )    ORDER
                                               )
11   vs.                                       )
                                               )
12                                             )
     Samuel P. Goddard III, in his personal)
13   capacity; Donald Conrad, in his personal)
     capacity; Todd Lawson, in his personal)
14   capacity; Michael Edwards, in his personal)
     capacity,                                 )
15                                             )
                Defendants.                    )
16                                             )
                                               )
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19          Before the Court is Defendant Samuel P. Goddard III’s Motion for Judgment on the
20   Pleadings (Doc. 30). Plaintiff’s complaint alleges three counts for violations of 42 U.S.C.
21   §§ 1983, 1985, and the Stored Communications Act related to an allegedly unlawful search
22   and seizure of Plaintiff’s home and email accounts. Defendant contends that Plaintiff’s
23   claims fail because (1) Count One is barred by res judicata, collateral estoppel, and fails to
24   state a plausible claim for relief, (2) Count Two is barred for failing to plead membership in
25   a suspect class, and (3) 18 U.S.C. § 2707(e) provides a complete defense to Count Three.
26   Although Plaintiff’s response to Defendant’s motion was due August 15, 2011, see LRCiv.
27   7.2(c), no response has been filed.
28          A motion for judgment on the pleadings is assessed under the standard applicable to
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 1   a motion to dismiss for failure to state a claim upon which relief may be granted under Rule
 2   12(b)(6) of the Federal Rules of Civil Procedure. See Aldabe v. Aldabe, 616 F.2d 1089, 1093
 3   (9th Cir. 1980). The Court previously granted the motions to dismiss filed by the other three
 4   defendants named in this action (Doc. 29). Although Plaintiff has not responded to
 5   Defendant’s motion, which is cause to grant the motion, see LRCiv. 7.2(i), the Court grants
 6   the motion on its merits for the reasons stated in Defendant’s motion and the reasons stated
 7   in the Court’s previous order granting Defendants Lawson, Conrad, and Edwards’s Motions
 8   to Dismiss (Doc. 29).
 9          IT IS THEREFORE ORDERED that Defendant Samuel P. Goddard III’s Motion for
10   Judgment on the Pleadings (Doc. 30) is granted.
11          IT IS FURTHER ORDERED that the Clerk shall enter judgment dismissing Plaintiff’s
12   Complaint (Doc. 1) with prejudice as to all Defendants. The Clerk shall terminate the case.
13          DATED this 22nd day of August, 2011.
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